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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               )       CRIMINAL NO. 19-10113-FDS
LOUIS D. COLEMAN, III,                         )
                                               )
               Defendant                       )

                    GOVERNMENT’S SENTENCING MEMORANDUM

       One cold Saturday night, on February 23, 2019, 22-year-old Jassy Correia went out with

some friends to a club in Boston to celebrate her upcoming birthday. She planned to sleep at a

friend’s apartment in Boston that night, but she never made it back to her friend’s apartment. The

reason why is Louis D. Coleman. Coleman lured her into his car, confined her there, sexually

assaulted her, strangled her to death, and transported her across the state lines to Rhode Island, all

against Jassy’s will. Jassy’s body was found four days after her birthday celebration, nearly 350

miles away, in Delaware – bound in duct tape, folded into a fetal position, stuffed in a suitcase, in

the trunk of a car being driven by Coleman. Coleman’s DNA was found inside her vagina and

rectum, and underneath her fingernails. Also in the car were brand new hedge clippers, pliers, and

heavy-duty gloves, as well as a gas can and lighter – items intended to be used to dispose of Jassy’s

body and bury the evidence of Coleman’s crimes.

       After hearing all the evidence of these facts, on June 1, 2022, a jury convicted Coleman of

kidnapping resulting in death, in violation of 18 U.S.C. § 1201(a)(1). The statutorily-required

sentence of life imprisonment without parole is just and should be imposed, along with restitution

to Jassy’s family, and five years of supervised release in the unlikely event that Coleman were

ever released from the life sentence.




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       I.      THE VICTIM1

       Jassy was 22 years old at her death; she would have turned 23 on February 26, 2019. See

Photo of Jassy, Feb. 24, 2019, attached hereto as Exhibit 1 (Trial Exhibit 1-1). She was a beloved

daughter, granddaughter, sister, mother, and friend. Jassy moved to the United States from Cape

Verde as a young child. Her mother fought to give her that opportunity and dreamed of a better

life for Jassy here. To lose her this way has devastated her family.

       Just prior to her kidnapping and murder, Jassy was living in an apartment in Lynn with her

two-year-old daughter. She had a social worker helping her make plans for her future. She was

working part-time at Del Frisco’s restaurant in the Seaport neighborhood of Boston and had

another job interview lined up for Monday, February 25, for a job closer to her home. She was

working on getting her daughter into a day care near her home too. Although she was a survivor

of domestic violence and had experienced poverty, life for Jassy was looking up. She made plans

in a notepad with the words “Life Is My Favorite Adventure” on the cover. See Notepad Cover,

attached hereto as Exhibit 2 (proposed as part of Trial Exhibit 7-4 but not admitted).2 Inside she

tracked her budget, made to-do lists (“Apply for jobs in person”; “Go see family”; “Take the test

at least once. Fail or pass.”; “FIND A NEW JOB!”), and listed possible avenues for locating long-

term housing. Either she or a friend had also written in the notepad words of encouragement and

positivity: “YOU GOT THIS,” “CAN DO IT,” and “#thrive.”

       Her 23rd birthday was coming up, and Jassy made plans with a friend from western

Massachusetts, Aja, to go to a club on the evening of February 23 to 24, 2019 to celebrate Jassy’s




1
  The facts stated in this section were presented to the court in Motion in Limine filings or are
reflected in proposed Trial Exhibit 7-4. See Dkt. No. 234.
2
  The notepad was found inside Jassy’s overnight bag that she left at her friend Nia’s apartment
before going out the night of February 23.
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upcoming birthday. Jassy arranged for her daughter’s paternal grandmother to care for her

daughter.

         II.    THE OFFENSE CONDUCT3

         Based on the evidence described below, the government’s theory at trial was that early in

the morning on Sunday, February 24, 2019, Coleman tricked and inveigled Jassy into walking

with him and getting into his car by telling her that he would give her a ride, when in fact his true,

undisclosed purpose was to have sex with her; that he further held and sexually assaulted her in

the car; that he further held and strangled her to death in the car, overcoming her efforts to break

free; that he drove her body across state lines from Massachusetts into Rhode Island; that he

dragged her body into his apartment; and that he then made purchases and other preparations to

dispose of her body, but was stopped by Delaware police before he could do so. The evidence at

trial showed the following, among other things.

         Jassy and her friends go to Club Venu

         Jassy went to Boston for the weekend of February 23 and 24, as she had planned, to

celebrate her “birthday weekend.” On the morning of Saturday, February 23, 2019, Jassy went to

the apartment of her friend “Nia,” who lived in Dorchester. During the day Nia accompanied Jassy

to a store and Jassy bought the outfit she later wore to the club, including black high-heeled shoes,

an orange jump suit, and a denim jacket with wings on the back. Although Nia had not been part

of the plans with Aja, Jassy asked her to go to the club with her, Aja, and Aja’s friend Reggie. The

two of them got dressed in Nia’s apartment. Jassy put on the outfit she bought and ended up taking

her phone and her purse, but she left behind everything else, including the key to her Lynn

apartment. She had arranged to get her daughter back on the afternoon of the next day.



3
    See PSR ¶¶ 7-27.
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       Aja and Reggie got a late start from western Massachusetts that evening. They also thought

they were supposed to pick Jassy up in Lynn, and by the time the confusion was cleared up and

they arrived outside Nia’s apartment in Dorchester, it was close to midnight. Neither Aja nor

Reggie had ever met Nia before, and they were surprised when Nia came out with Jassy and got

into the car to go to the club. They decided to go to Venu on Warrenton Street in Boston. During

the drive there, Aja asked Jassy where she would be going at the end of the evening out and Jassy

told her that she would be going back to Nia’s apartment.

       Reggie drove the group to downtown Boston and parked in a garage on Tremont Street,

one block over from Venu. By the time they walked to Venu and waited through the line, it was

around 12:40 a.m. on Sunday, February 24. The club was crowded, and they ended up at a corner

of the bar. They shared a bottle of champagne and each of them had two or three shots of Patron

tequila. The women then went to the dance area. Nia’s last memory of Jassy is being with her on

the dance floor.

       After dancing, the three women went back to the bar, where Reggie had remained. Jassy

and Aja went to the rest room, and by the time they returned Nia had suddenly become angry and

aggressive, and that continued as the group left Venu at its 2:00 a.m. closing time. Outside, while

walking toward the parking garage through an alley, surveillance video captured Nia pushing Jassy

multiple times. After the first push Jassy took off her high heels, which Aja picked up. According

to Aja and Reggie, Jassy tried to calm Nia down and tried to get her to go with them to the car,

which was Jassy and Nia’s ride back to Nia’s apartment. Aja encouraged Jassy to leave Nia behind

and go with her and Reggie, but Jassy would not leave Nia behind. Aja asked Jassy how she would

get back to Nia’s and Jassy said that she would take an Uber. At that point Aja and Reggie left,




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Aja forgetting that she was still holding Jassy’s shoes. Shortly thereafter Nia walked off in the

other direction.

       Jassy, in addition to being intoxicated, was now alone on the sidewalk on an extremely

cold night wearing a denim jacket and no shoes. There happened to be an Uber driver parked at

that very location waiting for Uber XL customers to hire him. Surveillance video captured Jassy

tapping on his windows and then getting into the front passenger seat in an effort to get him to

give her a ride, telling him she would use the Uber app to order him as a driver. He tried to explain

that the app would not allow her to order him; also, he was seeking Uber XL customers from whom

he would make more money. He had not intended to unlock his door for her to get in; when she

got in, he pushed her back out of his car and she fell onto the sidewalk.

       Coleman was on the sidewalk watching.

       Coleman’s evening

       Coleman had also gone to Venu that night, arriving at around 1:00 a.m. He met a young

woman named Lorna and the two quickly became interested in one another. Near closing time

Coleman was headed toward the rest room with Lorna when her brother interceded. Coleman and

Lorna were texting one another and Coleman was in the lobby when Lorna, her brother, and some

friends went downstairs to leave the club. Coleman went down the stairs and out the door shortly

thereafter, but he learned from Lorna via text that she had already left the area with her brother.

       It was almost immediately thereafter that surveillance video captured Coleman passing by

the Uber on Tremont Street and turning his head as it became apparent that Jassy was having

trouble getting a ride. Coleman continued down Tremont Street and turned to watch Jassy’s

interactions with the Uber driver. The surveillance video shows that he was directly beside the

Uber at around 2:16 a.m. to help Jassy up when she got pushed out of the vehicle, and that he held


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her by both hands for almost a minute on the sidewalk, talking to her. Jassy, who looked around

as he was talking to her, apparently to see whether Nia was still there, eventually walked off with

Coleman. A series of surveillance cameras captured Coleman first walking with Jassy, and then

carrying her on his back piggy-back style. They ended up further down on Tremont Street near

the Animal Rescue League and got into Coleman’s car.

       Tracking Coleman’s car

       Coleman had an Android cell phone with him that night, and Google produced information

that showed the progress of Coleman’s phone, and therefore Coleman’s car, from where it was

parked to a location on the opposite side of Tremont Street, where it stopped for over twelve

minutes. Surveillance video showed Coleman’s car backing into a space at this location and that

soon thereafter the headlights went off. At the conclusion of this period of time the lights went

back on, the car pulled away from the curb, and Coleman took the first right onto Aguadilla Street,

which is a U-shaped street that connects to Tremont Street at both ends. Other surveillance video

showed Coleman proceeding down Aguadilla and taking another right. Further down on Aguadilla

were two police cars with the blue lights flashing, and Coleman immediately backed up quickly

the way he had just come and out onto Tremont Street.

       The Google records indicate that just before 3:00 a.m., he traveled from there onto I-93

and then I-95 down to Providence, Rhode Island, where he lived at 95 Chestnut Street.

       Coleman’s arrival at Chestnut Street

       Surveillance video from outside and inside Coleman’s building shows that Coleman’s car

arrived in the parking lot of 95 Chestnut Street at around 4:00 a.m.; that he initially went into the

building and up to his apartment, returning with a white comforter; that he spent some time

maneuvering the car around; but that ultimately he took Jassy’s limp body out of his car, carried


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her to the building, and dragged her through the lobby, clad only in the orange jump suit, the top

to which was down at her waist, leaving her breasts exposed. He took the elevator to the sixth

floor and then dragged Jassy’s body to his apartment.

        The missing person report and investigation

        Jassy’s friends started trying to contact her early in the morning on February 24. By the

afternoon of February 26, when nobody had seen or heard from Jassy, Nia and Jassy’s father

reported her missing. On Wednesday, February 27, the Boston Police Department (“BPD”) began

scouring the area on Tremont Street where Jassy had last been seen and found the footage of

Coleman approaching her. Investigators found additional surveillance footage that showed

Coleman carrying Jassy to his parked car on Tremont Street, which appeared to be a red sedan.

They also found surveillance footage of sufficient quality to show what Coleman was wearing.

Venu took images of the I.D. presented when patrons entered the club, and investigators went

through the images until they found one depicting an individual matching the appearance of the

person they had seen approaching Jassy: a Rhode Island driver’s license for Louis Coleman that

reflected the Chestnut Street address. A record check revealed, however, that Coleman had no

vehicles registered to him. BPD called down to the Providence Police Department (“PPD”) who

tried to do a wellness check at Coleman’s apartment around 1 a.m. on Thursday, February 28, but

they were unable to gain entry to the building. Unbeknownst to PPD, Coleman was outside on the

street while they attempted the wellness check and could likely see their cars parked outside the

building. After they left, he retrieved his car from a lot a few blocks away, and within 15 minutes

after their leaving, Coleman wheeled the suitcase containing Jassy’s body out of his building and

into his car.




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       Early on the morning of February 28, 2019, BPD investigators went down to Providence.

With assistance from PPD they entered the building and made their way up to Coleman’s

apartment. Receiving no response to their knocks they entered the apartment. Nobody was there.

Even though it had been snowing the windows were open. The shower curtain and a couch cushion

cover were missing.

       Investigators began watching surveillance video of the interior and exterior of the building.

They soon saw the video of Coleman dragging Jassy into the building on February 24. They saw

Coleman entering the building with a number of items over the next few days, including Walmart

bags and, the night of February 27, a large blue suitcase. They also saw Coleman dragging that

same suitcase, obviously containing something heavy, to the elevator and out to his car shortly

after 1:00 a.m. that very morning, February 28, and saw him making several additional trips to the

car with bags, boxes, and a computer tower before he drove off in the car around 4 a.m.

       Investigators still did not know the license plate number of the car, but they went to the

nearest Walmart and obtained video of Coleman driving the vehicle -- including a video depicting

the vehicle’s California plate -- from a day that Coleman was seen on surveillance video entering

the apartment building with Walmart bags. They also learned that the car had OnStar and, with

the assistance of the Rhode Island Attorney General’s Office, were able to have OnStar activate

the system on an emergency basis and communicate occasional live location information for

Coleman’s car.

       The arrest and post-arrest investigation

       With the aid of OnStar, investigators learned that the car was traveling near Wilmington,

Delaware, around 1:39 p.m., and members of the Delaware State Police (“DSP”) located and

stopped the car shortly after 2 p.m. Jassy’s body was found folded into a fetal position, bound in


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duct tape, covered in a white powder, stuffed into a couch cushion cover, which had been stuffed

into a trash bag, inside the blue suitcase, which was in the trunk or the car.

       DSP also recovered Coleman’s computer tower from the trunk, and a search of one of the

hard drives revealed that Coleman had conducted a number of internet searches between February

24 and February 27, including searches for whether a body can fit in a suitcase, how to pull teeth

that are not loose, turkey basters and pipettes, and how to embalm a body. They found a number

of recently-purchased implements in the car, including pruning shears that might be used to

remove fingers and hence fingerprints; pliers that might be used to remove teeth to preclude

identification of a body by means of dental records; a gas container that might be used to hold a

flammable liquid that could be poured on a body; and a lighter that might be used to ignite the

flammable liquid and thereby burn the body. Surveillance video from Coleman’s building and

from stores in and near Providence showed Coleman purchasing some of these items, and financial

records documented some of these purchases.

       The car itself showed signs of a violent struggle. In particular, there were two spider cracks

near the top of the passenger side of the windshield, consistent with somebody having kicked the

windshield with the heels of both feet. DNA analysis of swabs taken from the windshield revealed

the presence of the DNA of both Jassy and Coleman; DNA analysis of other swabs also revealed

the DNA of both of them on the interior of the front passenger door.

       The autopsy of Jassy showed that she was strangled to death, which testimony indicated

would have taken minutes to accomplish. Jassy’s body also had a number of contusions/bruises,

particularly to her head and torso, almost all of which were sustained when she was alive. A

toxicology analysis revealed, among other things, that her blood alcohol content was over 0.2 g/dL,

almost three times the legal limit for driving, and the presence of cocaine in her system. The


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defense toxicology expert testified that this level of alcohol could result in confusion. Finally,

Coleman’s DNA was present in both Jassy’s vagina and her rectum, and his sperm was in her

vagina, consistent with the government’s theory that Coleman had sexually assaulted Jassy prior

to killing her.

        III. GUIDELINE ANALYSIS

        The Government has no substantive objections to the Presentence Investigation Report

(“PSR”) dated October 4, 2022.

        The Government agrees with U.S. Probation that the guideline applicable to a violation of

18 U.S.C. § 1201(a)(1), kidnapping resulting in death, is USSG § 2A4.1.             Since Coleman

kidnapped Jassy and murdered her in the course of the kidnapping, the Base Offense Level is 43,

pursuant to USSG §§ 2A4.1(c) and 2A1.1(a). Because the defendant did not accept responsibility

for this offense, the Government agrees with U.S. Probation that the Total Offense Level is 43.

        The defendant’s objection (Defense Objections 8-10) to the finding that Coleman murdered

Jassy must fail. Pursuant to USSG § 2A4.1(c)(1), § 2A1.1 (First Degree Murder) applies if the

victim was killed under circumstances that would constitute murder under 18 U.S.C. § 1111, had

such killing taken place within the territorial or maritime jurisdiction of the United States. That

statute provides, in relevant part, “Murder is the unlawful killing of a human being with malice

aforethought. Every murder perpetrated by . . . any other kind of willful, deliberate, malicious, and

premeditated killing; or committed in the perpetration of, or attempt to perpetrate, any . . .

kidnapping, . . . aggravated sexual abuse or sexual abuse . . . is murder in the first degree.” As

Probation concludes in its Response to Defense Objections 8-10, Coleman’s actions here satisfy

the statutory definition for first degree murder.




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        Moreover, this Court has already found by a preponderance of the evidence that Coleman

murdered Jassy. On May 24, 2022, in ruling on the motions in limine regarding Rule 412 evidence

outside the presence of the jury, the Court explicitly found by a preponderance of the evidence that

Coleman murdered Jassy. See Excerpt of May 24, 2022 Trial Transcript, attached hereto as Exhibit

3 (“I find by a preponderance of the evidence for the purpose of considering this question that the

defendant did, in fact, murder the victim”); see also Excerpt of May 25, 2022 Trial Transcript,

attached hereto as Exhibit 4 (denying the Rule 29 motion, the Court stating, “We don’t know

exactly when she was murdered, but the most likely scenario is that it happened in the car during

[the period on Tremont Street]”). This finding is fully supported by the evidence presented at trial

and is determinative of this issue. Accordingly, the Total Offense Level is properly calculated as

43.

       The Government agrees with U.S. Probation’s that the Coleman’s total Criminal History

score is zero, which establishes a Criminal History Category I.

       With Total Offense Level 43 and Criminal History Category I, both the statutorily required

sentence and the guidelines sentencing range is life imprisonment without release.4 PSR ¶¶ 75-

76.

       IV.     SENTENCING RECOMMENDATION

       Here the statute requires that a sentence of life imprisonment without release be imposed,

and consideration of the factors set forth in 18 U.S.C. § 3553(a) demonstrates that this sentence is

the only just sentence. 18 U.S.C. 3553(a) requires that a sentencing court consider specific

enumerated factors when determining an appropriate sentence. These factors include, among



4
  Although the statute also provides for the possibility of the death penalty, the government
informed the Court on November 4, 2021, that it would not be seeking the death penalty in this
case. Dkt. No. 163.
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others: the nature and circumstances of the offense and the history and characteristics of the

defendant, and the need for the sentence imposed to reflect the seriousness of the offense, to

promote respect for the law, to provide just punishment for the offense, to afford adequate

deterrence to criminal conduct, to protect the public from further crimes of the defendant, and to

provide for the needs of the defendant. In this case, the Section 3553(a) factors point to the

statutorily required sentence of life imprisonment without release, as well as 5 years of supervised

release to be served consecutively, in the unlikely event that he were ever released for reasons that

cannot be foreseen now. The government further requests restitution to Jassy’s family in an

amount to be determined within 90 days of the sentencing hearing, including the cost of Jassy’s

funeral expenses and money paid out-of-pocket to travel to attend court proceedings in this case.

   A. Nature and Circumstances of the Offense; Need for Sentence to Reflect Seriousness
      of Offense and Promote Respect for Law; Need to Provide Just Punishment and
      Afford Adequate Deterrence

       The nature and circumstances of this offense, described above, are among the most horrific

that come before this Court. The defendant lured Jassy into his car, sexually assaulted her, and

violently killed her, strangling her to death over the course of minutes. Although the evidence

shows Jassy fought back, kicking in the windshield of Coleman’s car as she struggled for her life,

this was not a situation of “mutual combat,” as the defendant continues to argue without evidence.

The testimony of the medical examiner was that someone who is being strangled would lose

consciousness first; only after continued pressure for a period of minutes would they die. See

Excerpt of May 20, 2022 Trial Transcript, attached hereto as Exhibit 5, at 8-60 to 8-61.

Consequently, there was a period of minutes where Jassy was completely defenseless,

unconscious, and the defendant continued to squeeze her neck until she was dead. There is no

justification or defense for these actions.



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       Coleman showed no remorse at the time and has shown no remorse since. After Jassy died,

he did not Google how to turn himself in safely; he Googled how to remove someone’s teeth that

weren’t loose. He did not lose himself in grief for what he had done; he texted the woman he’d

met at the club while Jassy’s dead body was lying in his apartment. He concocted his macabre

plan for destroying Jassy’s body and the evidence of his crimes, even as he texted friends to make

weekend plans in Washington, D.C. (see Trial Ex. 64, Coleman text messages) and emailed his

boss that he would be out sick for a few more days (see Trial Ex. 63-3, Coleman email). When

the DSP officers found Jassy’s body in the trunk of the car, Coleman did not claim he had killed

her by accident or self-defense or provide any of the other versions of the story that his counsel

have told in various court filings since then. Without having been Mirandized on scene, he

remained silent and emotionless for the entire 15-minute drive back to the police station. See Trial

Ex. 32 (video of back seat of cruiser).

       The sentence of life imprisonment without possibility of parole reflects the seriousness of

this offense and represents the just punishment for it. It is necessary to punish the defendant for

his actions and to deter both him and others from committing such offenses in the future.

   B. History, Characteristics, and Needs of the Defendant; the Need to Protect the Public
      from Future Crimes of the Defendant

       In many cases, in examining the history, characteristics, and needs of a given defendant,

the Court must consider a defendant’s traumatic or violent upbringing, a lifetime of poverty, a lack

of education, a history of drug addiction, serious mental health issues, or other factors that – while

not justifying the criminal behavior – help one to understand how the defendant came to be in his

or her situation.

       Not so in this case. Coleman, who will be 36 years old at sentencing, has had many

advantages in life. He is highly educated, having obtained a Bachelor of Science in physics in

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2012, and a Master of Science in biomedical physics in 2016. Prior to his graduation, Coleman

was employed as an independent driver for a ride-share company, and as a sales representative for

a large electronics store. Upon graduation, Coleman relocated from California and obtained

employment at Raytheon in Portsmouth, Rhode Island, where he earned $79,000 a year and had

the prospect for future promotions. See PSR ¶¶ 68-70. At the time of the offense, he had applied

for a higher-level of security clearance. See Defense Objection 12. Coleman had a structured

upbringing and was supported both emotionally and financially by at least some members of his

family up through the time of his offense; indeed, at the time of the offense, although Coleman

had his own well-paying job, he had a credit card on an account for which his mother was paying

the bills. See Trial Exhibit 69 (American Express records).

       In his initial interview with Probation, Coleman noted no medical or mental health issues

or history of alcohol or drug use; although, in his Objections, he provided supplemental

information about anxiety he experienced prior to and after his arrest, he confirms that he never

received mental health or emotional counseling (nor, presumably, any mental health diagnosis)

prior to his arrest. PSR ¶¶ 63-65; Defense Objection 12. In short, there is little to help explain why

Coleman would act this way or to mitigate his conduct here.

       However, his history includes other similar incidents that indicate that he has a volatile

temper and/or a proclivity toward violence against women. One of these incidents is briefly

mentioned in the PSR’s description of Coleman’s 2012 arrest for domestic battery charges against

an ex-girlfriend. PSR ¶ 47.

       Rather than provide mitigation, the history and characteristics of the defendant demonstrate

that he is a danger to women, and the statutorily required life sentence is appropriate not only to




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punish him for kidnapping and murdering Jassy, but also to incapacitate him from doing the same

to other women in the future.

       V.      CONCLUSION

       Coleman’s senseless and violent actions in the early morning of February 24, 2019, and his

actions in furtherance of his horrific plan to mutilate and dispose of the remains of Jassy Correia,

cry out for just punishment.     A sentence of life imprisonment without release is that just

punishment. By his actions and disregard for life of Jassy, Coleman forfeited his right to live free

in society. Because of Coleman’s crime, Jassy never got the chance to celebrate her 23rd birthday

with her daughter and the rest of her family. Jassy will never get the chance to see her daughter

grow and mature into an adult. No punishment can restore the life that Coleman took from the

world or relieve Jassy’s family and friends from the pain and suffering they experience on a daily

basis. However, the sentence of life without the possibility of parole reflects the seriousness of

this offense, acknowledges the loss that it caused, and will prevent Coleman from ever inflicting

this pain on another individual or family. The sentence of life imprisonment is just and required

by law, and the government asks that it be imposed.



                                              Respectfully submitted,

                                              JOSHUA S. LEVY
                                              First Assistant United States Attorney

                                      By:     /s/ Kenneth G. Shine
                                              KENNETH G. SHINE
                                              ROBERT E. RICHARDSON
                                              ELIANNA J. NUZUM
                                              Assistant U.S. Attorneys
Dated: October 5, 2022




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                              CERTIFICATE OF SERVICE

I hereby certify that this filing will be filed via ECF and thereby served on all counsel of record
for Defendant Louis D. Coleman III.

                                                     /s/ Kenneth G. Shine
                                                     KENNETH G. SHINE
Dated: October 5, 2022




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